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 5                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 6                                          AT SEATTLE

 7    UNITED STATES OF AMERICA,

 8                                 Plaintiff,
                                                                No. CR18-254RSL
 9                  vs.
                                                                MINUTE ORDER
10    DEVAUGHN WOODS,

11                                 Defendant.

12          The following Minute Order is made and entered on the docket at the direction of the
13   HONORABLE ROBERT S. LASNIK, UNITED STATES DISTRICT JUDGE:
14         The imposition of sentence for the above named defendant has been rescheduled from Friday,
15 June 14, 2019 to Friday, November 1, 2019 at 9:00 a.m. in room 15106 before the Honorable Robert S.

16 Lasnik, United States District Court Judge.

17         DATED this 11th day of March, 2019.
18

19                                                     /s/Kerry Simonds
                                                       by Kerry Simonds, Deputy Clerk
20                                                     To Robert S. Lasnik, Judge
                                                       206-370-8519
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26   MINUTE ORDER
